                                UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

UNITED STATES OF AMERICA,                                 CASE NUMBER: 1:20-CR-183

               Plaintiff,
                                                          HON. ROBERT J. JONKER
v.                                                        CHIEF U.S. DISTRICT COURT JUDGE

KALEB JAMES FRANKS ,                                      DEFENDANT’S INITIAL PRETRIAL
                                                          CONFERENCE SUMMARY STATEMENT
               Defendant.

       Defendant         KALEB JAMES FRANKS                        , through his attorney, submits the
following initial pretrial conference summary statement.

I.     DISCOVERY

              The defendant requests disclosure pursuant to Federal Rules of Evidence 404(b).

               The defendant        will        󠄍 will not provide reciprocal discovery.

II.    TRIAL

       The defendant requests a         jury        󠄍 non-jury trial.

III.   MISCELLANEOUS

       The parties acknowledge that if the case is appropriate for expedited resolution and
       sentencing, a joint motion for expedited sentencing shall be filed within 14 days of
       arraignment.

              Counsel 󠄍for 󠄍defendant 󠄍is 󠄍unware 󠄍at 󠄍this 󠄍time 󠄍of 󠄍any 󠄍known 󠄍conflict 󠄍with 󠄍counsel’s 󠄍
               representation of defendant. Counsel will immediately advise the court if any
               such conflict becomes known.

              Counsel for defendant is aware of the following potential conflicts:

IV.    OBLIGATIONS

              Counsel for defendant acknowledges having reviewed the Obligations of Defense
               Counsel section 󠄍 available 󠄍 at 󠄍 the 󠄍 court’s 󠄍 website, 󠄍 www.miwd.uscourts.gov 󠄍 > 󠄍 > 󠄍
               Attorney Information > > Criminal Case Information.

Date   December 17, 2020                                  /s/ Scott Graham
                                                          Counsel for Defendant
